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                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                           CENTRAL DIVISION AT FRANKFORT

UNIVERSITY OF KENTUCKY RESEARCH
FOUNDATION, INC.,

              PLAINTIFF
                                                       Civil Action No. 3:13-CV-00016-GFVT
v.
                                                                Electronically Filed
NIADYNE, INC.,

              DEFENDANT.


                                   MOTION TO REMAND

       The Plaintiff, University of Kentucky Research Foundation, Inc. (“UKRF”), pursuant to

28 U.S.C. § 1447, moves to have this action remanded to the Franklin Circuit Court because

there is no federal question, Defendant’s removal is untimely and the Eleventh Amendment bars

the counterclaims against UKRF. UKRF also files a memorandum in support of this motion.

Based on the arguments set forth therein, UKRF asks that this Court remand this action to the

Franklin Circuit Court and award costs and expenses, including attorney fees, to UKRF.
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                                    Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

        It is hereby certified that on this 25th day of April, 2013, a copy of the foregoing Motion
to Remand was filed electronically with the Clerk’s office by using the CM/ECF system and
served electronically and via United States Mail, postage prepaid, upon the parties listed below.
Parties may also access this filing through the Court’s ECF system.

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